UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
YARON KWELLER,

                          Plaintiff,                                      NOTICE OF MOTION

                 -against-                                          Case No. 3:24-CV-1328 (ECC/ML)


THE COUNTY OF BROOME, THE CITY OF
BINGHAMTON, THE BROOME COUNTY
DISTRICT ATTORNEY’S OFFICE, DISTRICT
ATTORNEY MICHAEL A. KORCHAK, CHIEF
ASSISTANT DISTRICT ATTORNEY MARK
LOUGHRAN, ASSISTANT DISTRICT ATTORNEY
ALYSSA CONGDON, ASSISTANT DISTRICT
ATTORNEY AMANDA CRONIN, DISTRICT
ATTORNEY INVESTIGATOR JEFF J. WAGNER,
BINGHAMTON POLICE DEPARTMENT CHIEF
JOSEPH ZIKUSKI, BINGHAMTON POLICE
DEPARTMENT CAPTAIN CORY MINOR,
BINGHAMTON POLICE DEPARTMENT
INVESTIGATOR AMANDA MILLER, all in their
individual capacities, and JOHN DOES 1-10,
representing Broome County District Attorney’s Office
and Police Department Employees Whose Names Are
Currently Unknown, HAILEY DEMKOVICH, and
SAMANTHA HERCEG,

                           Defendants.
--------------------------------------------------------X

        PLEASE TAKE NOTICE that upon the enclosed Memorandum of Law, the undersigned,

on behalf of defendant Alyssa Congdon (hereinafter “defendant”), shall move this Court upon

submission of the papers before the Honorable Elizabeth C. Coombe, U.S.D.J., for (a) an Order

pursuant to Federal Rule of Civil Procedure § 12(b)(6) dismissing plaintiff Yaron Kweller’s

complaint in its entirety; and (b) for such other and further relief in favor of defendant as the

Court deems appropriate.
       PLEASE TAKE FURTHER NOTICE that pursuant to Rule 7.1(a)(1) of the Local Rules

of Practice of the United States District Court for the Northern District of New York, any papers

to be submitted in opposition to the within motion must be filed with the Clerk of the Court and

served upon counsel for defendant no more than twenty-one (21) days after service of the

motion, exclusive of that day.

DATED:         January 31, 2025

                                             Respectfully submitted,

                                             HACKER MURPHY, LLP

                                             Yours, etc.,


                                                                             /s James C. Knox
                                             ________________________________________
                                                                     JAMES C. KNOX, ESQ.
                                                      Attorneys for Defendant Alyssa Congdon
                                                                           Bar Roll No. 51709
                                                                        Office & P.O. Address
                                                                              28 Second Street
                                                                       Troy, New York 12180


To: All Counsel Via ECF
